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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BYRON QUINN-WINNE                                 CIVIL ACTION

 v.                                                NO. 20-2493

 COMMONWEALTH OF PA;
 CHRISTOPHER F. TUSTIN & ROBERT
 EVANCHICK

                                     SCHEDULING ORDER

       AND NOW, this 27th day of April, 2022, after a pretrial conference pursuant to Rule 16,

Federal Rules of Civil Procedure:

1.     Discovery deadline:              September 30, 2022        .

2.     Exchange of expert reports pursuant to Rule 26(a)(2).

       Plaintiff:                August 1, 2022          .

       Defendant:                August 30, 2022        .

3.     Magistrate Judge David Strawbridge will contact counsel as to whether settlement

       discussions have taken place and to schedule a settlement conference.

4.     Deadline for dispositive motions:              October 31, 2022           .

5.     Pretrial Memoranda filed and served pursuant to Local Rule 16.1(c), and service of a

       copy of trial exhibits:

       Plaintiff:                November 10, 2022           .

       Defendant:                November 21, 2022            .

6.     Date for trial or entry into trial pool:      December 1, 2022                .

7.     Commonwealth of Pennsylvania and Robert Evanchick are DISMISSED as Defendants.

       The parties shall follow Judge Baylson’s pretrial and trial procedures.

                                                     BY THE COURT:

                                                      /s/ MICHAEL M. BAYLSON
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                                                     MICHAEL M. BAYLSON, U.S.D.J.
